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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES - GENERAL

Case No.     CV 18-3855-DMG (Ex)                                           Date     August 7, 2018

Title United States of America v. Approximately $107,539,422.29 in Funds and Securities


Present: The Honorable        DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

               Kane Tien                                                     Not Reported
              Deputy Clerk                                                   Court Reporter

    Attorneys Present for Plaintiff(s)                            Attorneys Present for Defendant(s)
              Not Present                                                    Not Present

Proceedings: IN CHAMBERS - ORDER TO SHOW CAUSE RE: DISMISSAL FOR
             LACK OF PROSECUTION

        Absent a showing of good cause, an action must be dismissed without prejudice if the summons
and complaint are not served on a defendant within 90 days after the complaint is filed. See Fed. R. Civ.
P. 4(m). Generally, defendant must answer the complaint within 21 days after service (60 days if the
defendant is the United States).

        In the present case, it appears that these time periods have not been met. Accordingly, the Court,
on its own motion, orders plaintiff(s) to show cause in writing on or before August 21, 2018 why this
action should not be dismissed for lack of prosecution.

        No oral argument of this matter will be heard unless ordered by the Court. The Order will stand
submitted upon the filing of a written response on or before the date upon which a response by plaintiff(s)
is due. This action will be dismissed if a written response demonstrating good cause is not filed by the
date indicated above.




CV-90                                 CIVIL MINUTES - GENERAL                     Initials of Deputy Clerk KT
